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                                 UNITED STATES DISTRICT COURT
 8
                                WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
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10      ZACHARY IRWIN POND,
                                                              CASE NO. 3:21-cv-05339-BJR-JRC
11                              Plaintiff,
                                                              ORDER DENYING MOTION TO
12                v.                                          SEVER
13      TERRANCE DOE, et al.,

14                              Defendants.

15

16          Plaintiff brought this action under 42 U.S.C. § 1983. Dkt. 9. Before this Court is

17   plaintiff’s motion to sever. Dkt. 29. As discussed below, this Court denies this motion without

18   prejudice.

19          Plaintiff previously filed a motion to appoint counsel (Dkt. 11), which this Court denied

20   (Dkt. 27). Also, plaintiff previously filed a motion for order to require detailed indexing,

21   justification, and itemization (“miscellaneous motion”). Dkt. 14. In his miscellaneous motion,

22   plaintiff asked this Court to order defendants to give him “a detailed justification for allegations

23   contained in” defendants’ answer and for a “previous administrative denial that the requested

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 1   documents are exempt from disclosure” under state and federal law. Dkt. 14 at 1. In his

 2   supporting declaration, plaintiff stated that he made a formal request at his prison for certain

 3   records and that a correctional official intentionally withheld them. Dkt. 15 at 1–2.

 4          This Court issued an order denying the miscellaneous motion. Dkt. 27. As relevant here,

 5   this Court stated that, liberally construing the miscellaneous motion and declaration, plaintiff

 6   potentially sought leave to amend the amended complaint to allege a new claim. But this Court

 7   declined to treat the miscellaneous as a motion to amend because plaintiff failed to “attach a

 8   copy of the proposed amended pleading as an exhibit to the [miscellaneous] motion.” Local Rule

 9   15.

10          In his motion to sever, plaintiff appears to allege that he intended his miscellaneous

11   motion to be an independent case under 42 U.S.C. § 1983. See Dkt. 29 at 3. However, he asks

12   that “this severance of actions not remain permanent if in the future plaintiff seeks permission to

13   amend his [amended] complaint” in this action. See id. at 3–4.

14          In his motion to sever, plaintiff also asks this Court to reconsider its order denying

15   appointment of counsel. Id. at 4–6. In support, he appears to allege that this Court’s alleged

16   “misfiling” of the miscellaneous motion shows that this case is complex and that he cannot

17   adequately articulate his claims. See id. at 5.

18          This Court denies the motion to sever without prejudice. If plaintiff wishes, he may file a

19   new, separate action under § 1983 and attempt to assert any appropriate claim in that action

20   based on any allegations he wishes to provide. However, upon careful review of the record, this

21   Court disagrees that the Clerk erred in not opening the miscellaneous motion as a separate action.

22   Notably, petitioner filed his initial proposed complaint on this Court’s form for § 1983 actions.

23   Dkt. 1-1. Therefore, the record reflects that he knew that prisoners must file § 1983 actions on

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 1   the form. Furthermore, plaintiff titled the miscellaneous motion as a “motion” and it is not

 2   written in the form of a civil rights complaint. See Dkt. 14. However, this Court will send

 3   plaintiff a copy of this District’s § 1983 form in the event he wishes to file a new, separate §

 4   1983 action.

 5           Because this Court has denied the motion to sever, plaintiff’s request that the severance

 6   not be permanent is moot. To be clear, however, this Court declines to express an opinion about

 7   what effect, if any, filing a new, separate action will have on plaintiff’s future ability to file a

 8   motion to amend in this action. If, at some future point, plaintiff wishes to file a motion to amend

 9   in this action, he may do so in accordance with the Federal Rules of Civil Procedure and this

10   District’s Local Rules. Only at that time will this Court be able to determine the viability of such

11   a motion.

12           Moreover, this Court declines to reconsider its order denying plaintiff’s motion for

13   counsel. That the Clerk docketed the miscellaneous motion as a motion and not as a separate

14   action does not indicate that this case is complex. Furthermore, as noted in the order, the record

15   reflects that, at this stage, plaintiff can articulate his claims. See Dkt. 9.

16           Accordingly, this Court DENIES WITHOUT PREJUDICE plaintiff’s motion to sever

17   (Dkt. 29). The Clerk is directed to SEND plaintiff copies of this order and the forms necessary to

18   initiate a § 1983 action.

19           Dated this 23rd day of September, 2021.

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21                                                            A
                                                              J. Richard Creatura
22                                                            Chief United States Magistrate Judge
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     ORDER DENYING MOTION TO SEVER - 3
